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                                                    October 30, 2021


Jennifer L. Ryan
Frisco, Texas 75034


The Honorable Christopher Cooper
U. S. District Judge for the District of Columbia

               Re: Case No. 1:21-cr-50

Dear Judge Cooper,

Please accept my sincere apologies for my actions on January 6th, 2021. I take full responsibility for parading
and picketing in a restricted building. I understand the weight of my actions and deeply regret entering the
Capitol that day.

I walked into the Capitol roughly one hour after the first crowd entered. I was a late arrival. I did not realize that
there was violence that occurred against the Capitol Police when I entered. I knew it was wrong to go into the
building, but I entered anyway because so many people were already in there and there were no barricades
blocking my entry.

I walked in, prayed, chanted “Fight for Freedom” and walked out. Please note on the video of me entering the
Capitol (See Timeline), that I was encouraged to go further than a few steps inside the door, but declined to do
so. Once I walked into the Capitol, there was a police officer making small talk, but still, I felt uncomfortable, so
I turned and walked out. I was in the Capitol for roughly 2 minutes and 8 seconds and took only a few steps
inside the door. It is my understanding that this is one of the lowest levels of crime from that day. Still, it was
wrong and I take responsibility for this action.

I did not witness any violence. I did not commit any violence. I did not see any violence being committed. I did
not lie about violence. I did not harm another person. I did not steal anything. I did not break anything. I am not
on video committing any violence. I did not observe any violence. I repeat: I did not see, commit or participate
in any violence. I did witness broken windows, people being teargassed (I moved far away once this started),
and broken camera equipment. I witnessed all these things after the fact.

I did not downplay violence that I did not see personally. I do not recall reading a forwarded tweet about
violence prior to going to the Capitol to protest. I did, however, see on TV that people were going into the
Capitol. I was not aware of any violence that occured before I arrived at the Capitol. In my opinion at the time, it
was a protest. I was naive enough to think that somehow they just got in. I am not a violent person. I haven’t
had so much as a speeding ticket in over ten years.

I was never interviewed by the FBI. I was never interrogated, though I offered to do so many times. Never once
did they ask for my version of events. I was unable to give any statement under oath. Yet the prosecutor makes
accusations about my culpability and integrity using television interviews in order to justify a very harsh
punishment.

I did not commit, see or lie about violence. I did not provide any false statements under oath. The Prosecution
makes accusations against me regarding an interview that I gave shortly after I returned home, while I was still
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processing the events mentally. I was experiencing cognitive dissonance. What I saw on the news was
contrary to the relative peaceful protest that I had experienced on the 6th. There is no denying that many
protesters there that day say the same thing. Even still, all public interviews and statements the prosecutor
claims I made and that she claims are misleading are all protected by my right to free speech. I have a right to
experience my own perceptions, share my thoughts, even as such perceptions evolve through time and mental
processing. It is not a crime to feel and believe a certain way about my experience of events and share my
experience with others.

While I feel badly about unlawfully entering into the Capitol on January 6th, not everything I did that day was
bad. Some actions I took that day were good. I came to DC to protest the election results. I wanted my voice to
be heard. My only weapon was my voice and my cell phone.

It is my belief that America is presently in an “Information War.” This so-called “war” that I spoke of, using my
first amendment rights, is a war that is not fought with weapons, but with words, ideas, constructs and
opinions. Judge, I’m sure you agree that I have the right to voice my opinions and concerns, even when my
thoughts and feelings are contrary to the mainstream narrative. Also using military analogies such as war and
fight are often used in political rhetoric and are protected by the Brandenburg standard for Free Speech.

The prosecution makes many false statements about my actions and the timing of such--most damaging is the
rearranging of my video streams and putting them out of context in order to justify harsher sentencing than
what was discussed originally. If my videos are put in proper order, it strongly contradicts the prosecutor’s
argument that I knew about breaking windows before I went to the Capitol. This false timeline may be more
exciting, and make for sensational TV news, but it is simply not the truth. The video that the prosecution uses
first to show my culpability is actually the last video I created over an hour later. Put the videos in order and the
argument for harsher sentencing crumbles.

Also, the Prosecutor makes assumptions about what I was thinking and feeling; and I am being accused of
lying about my own inner experience of the events that took place on January 6th. I contest that I am not lying
about how I felt, what I thought or what I believed. I have every right to feel, think and believe according to my
own experience--even when the experience contradicts that of people who were not at the event themselves.

Yes it is true that I have been heavily involved in internet marketing since 2004, and I had a wide network of
followers on all channels, each with different topics, very few dealing with politics. It is within my rights as a US
Citizen to have a social media following, I also have a life coaching business where I help people heal from
childhood trauma, as well as a real estate brokerage. I was a highly respected member of the community with
a real estate radio show as well. My only political discourse is usually during election time and it’s mostly on
Twitter. It is my understanding that it is not against the law to have social media accounts and to market myself
among my channels.

I am constantly posting to social media, just like many people today. I share various posts of myself putting on
make-up or eating macaroni and cheese. I love sharing my life because I love entertaining people and making
them feel good. Sharing my life makes me happy. You may see a video or post that I share online and think,
“She doesn’t seem remorseful,” however, my true feelings are not always displayed on my public social
network. Much of my inner world is kept inside, behind the scenes because showing remorse for every post
would be a turn-off for my audience. I try to balance my life and come across as happy and well adjusted. It’s
all about image management. So looking for remorse on my tweets and social media platforms is not the best
route. I am marketing myself online and cannot always display remorse. If you want to know how I feel, please
ask me directly. My social media is an image I project and not my real life.
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After the January 6th event, I started receiving mobs of trolls demanding that I be arrested and put in prison.
This was extremely horrifying. I received death threats. I had to close my company because of graffiti on my
real estate signs. I had to change my name because there were news articles plastered all over the web that
were defamatory towards me.

There were blogs created about me, I was called an Insurrection Barbie, and I was called an entitled stuck-up
snob. The media created an image of me that was false, and the social media mob came after me with a
vengeance, blaming me for the entire riot. Condemning me with no restraint. I felt horrible, as if I was the most
disgusting person in the USA. I experienced the full brunt of the attack of the bullies, mobs and trolls.

They thought I was a villain, but nothing could be further from the truth. I may have a big mouth. I may have
strong opinions. I may not have the same opinions as everyone else, but at the end of the day, I am simply a
hard working woman trying to make it in this world after overcoming a very difficult childhood. Every day I
struggle to do well within myself, for myself, and to serve my clients and to give back to the community. I coach
people all over the world. I am a top producer in real estate. I feel I received more backlash than I deserved. I
learned many lessons from my involvement in the Capitol event, and I believe my experience will make me a
better person.

At one point, I was told by my attorney that the prosecutor would be recommending probation. I was SO
RELIEVED. Several bullies on Twitter said something to the effect of you’re ugly, blonde and you’re going to
prison. I responded back apologizing for my blonde hair but that I wasn’t getting prison. I wasn’t saying I was
above prison, I just felt that it would be unlikely since I was pleading to entering the Capitol for 2 minutes and 8
seconds. Now I realize that was a false notion, but having a false notion does not automatically mean I deserve
incarceration. A tweet of me taking up for myself against a bully who is harassing me does not indicate that I
feel above-the-law.

Unlike what the Prosecutor says, I do not feel that I am immune to punishment due to my appearance and
social status. I do not feel that I will get off “Scott Free” (quoting the prosecutor), but I was trying to maintain my
dignity to a mob of haters who were harassing me relentlessly by social media, phone and email. The
prosecutor states that there is a “sense of impunity” in my statements. However, again, the prosecutor is
twisting my statement to put me in a box in which I do not belong. My statement was taken out of context
without fully understanding the entire conversation that I was responding to or what I was addressing.

When it comes to my propensity to further violence, as stated by the prosecutor, I can tell you, I did not commit
violence at all. Nevertheless, I have learned my lesson times 1000. I have learned many lessons, the most of
which is to have discretion in all my online activity and to steer clear of doing anything that could even remotely
get me into trouble. I just want my life back. I want to be respected and steer clear of controversy now and in
the future. I am a better person today because of these lessons I’ve learned through this extremely difficult
year.

I am pleading guilty to picking and parading inside a restricted Capitol Building. I take responsibility for my
actions. I did not commit any violence, I thought I was protesting, parading and picketing of my own accord.

Since that day I’ve suffered greatly. I received death threats; had to close my businesses; been heckled in
public. Had to change my name. I was ostracized from society, bank accounts were closed and had to disguise
myself in public. I experienced intense emotional pain and turmoil, psychological torture and punishment.
People lied about me and smeared my name, accusing me of being a murderer, terrorist, a racist. They made
fun of my image, face, body and hair. I was cancelled and objectified. I received more negative attention than
others due to my existing online profile, even though I played a minimal role.
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The stain of that day will haunt me the rest of my life. I am mortified that I went into the Capitol building. I am
also petrified to come before you as one of the earliest defendants to plead guilty. I hope you see that I am an
imperfect person, but I am not the person portrayed by the media. My life is in your hands. All I can do is hope
and pray that you will see the timeline of my videos, that you will see that I have the right to free speech, that
you will see that I am taking full accountability and I am remorseful for my actions. You will not hear of me
again in this negative light. I will use this experience to make me a better person.

I humbly place myself at the mercy of the court and plead for understanding. I went into the Capitol only a few
steps, stayed a very short time, I turned myself into the FBI quickly; gave up my phone without hesitation; gave
the FBI my key so they could search my home and take my computers. I pled guilty as soon as possible and
shared my story with the House Bi-Partisan Select Committee during an interview by their investigative
counsel. I am willing to cooperate in any way.

Judge, I am sorry for entering the building. I apologize to the Court, to America, the Capitol Police and
Congress. Please see my deep remorse, regret and willingness to accept full responsibility for my actions.
